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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  DASSO INTERNATIONAL, INC. and                )
  EASOON USA, LLC,                             )
                                               )
         Plaintiffs/Counterclaim Defendants,   )            C.A. No. 1:17-cv-01574-MFK
                                               )
  v.                                           )            JURY TRIAL DEMANDED
                                               )
  MOSO NORTH AMERICA, INC. and                 )
  MOSO INTERNATIONAL BV,                       )
                                               )
        Defendants/Counterclaim Plaintiffs.    )
  ___________________________________
  EASOON USA, LLC,               )
                                 )
       Plaintiff,                )
                                 )       C.A. No. 1:19-cv-00564-MFK
 v.                              )
                                 )       JURY TRIAL DEMANDED
 BRETT KELLY, MARK CLIFTON,      )
 and DAVID OSTERMAN, a/k/a       )
 STEVE OSTERMAN,                 )
                                 )
       Defendants.               )
                                 )
 REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT AS A MATTER OF LAW

            AND NEW TRIAL OR, IN THE ALTERNATIVE, A REMITTITUR

  Dated: August 8, 2023                            O’KELLY & O’ROURKE, LLC

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        Defendant MOSO North America, Inc.’s, and MOSO International BV’s (collectively

 “MOSO”) opposition to Plaintiffs’ Motion for Judgment as a Matter of Law and a New Trial, or,

 in the Alternative, For A Remittitur, is meritless. MOSO does not dispute that it did not plead the

 “counterfeiting” allegations as part of its Delaware Deceptive Trade Practices (“DDTPA”) claim.

 MOSO also does not dispute that it failed to provided any evidence of loss of reputation as to the

 corporate plaintiffs on the defamation claim. Given the lack of evidence supporting MOSO’s

 DDTPA and defamation claims, Plaintiffs’ motion should be granted.

        I.      SUPPLEMENTAL FACTUAL BACKGROUND

        MOSO does not dispute that its operative pleading (D.I. 263) did not contain the

 “counterfeiting” allegations as a basis for the DDTPA claim. Plaintiffs certainly did not understand

 that the defamation allegations were included in the DDTPA claim based on MOSO’s pleading.

 Instead, as evidenced by Plaintiffs’ opening statement (Trial Tr. at 116), Plaintiffs understood that

 the “counterfeit” allegations related solely to the defamation claim.

        There was no evidence of loss of reputation produced by MOSO at trial. For example, Mr.

 Kelly claimed that “some people” would not “do business” with MOSO because of the accusations.

 Trial Tr. at 681. There is no specificity to these statements whatsoever, and certainly no

 quantification of any financial loss. Similarly, Mr. Kelly claimed that he had to visit customers to

 explain the allegations of “counterfeiting.” Trial Tr. 683:12 – 684:7. Again, MOSO provided no

 evidence to support the cost of these alleged visits (or to show that they actually even took place).

 Similarly, MOSO has not pointed to any sales that were lost with regard to the “counterfeit”

 statements.




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        It is readily apparent from a review of the above that Mr. Kelly’s oral testimony at Trial Tr.

 681 and 683:12 – 684:7 is the only evidence MOSO proffered as to its damages on the defamation

 claim. Put differently, MOSO did not: (1) produce any survey evidence as to its reputation before

 and after the counterfeit statement; (2) provide testimony from any third party as to diminishment

 of its reputation; (3) provide any expert testimony; and (4) produce any quantification of lost

 business caused by the allegedly defamatory statement. Instead, MOSO’s only evidence as to

 diminished reputation was Mr. Kelly’s vague oral testimony. That is insufficient to meet MOSO’s

 burden as a matter of law. JMOL should be granted, or the award should be reduced to nominal

 damages of $1.

        II.     MOSO DID NOT PLEAD A DDTPA CLAIM INVOLVING THE
                COUNTERFEITING ALLEGATION
        MOSO concedes that its operative pleading (D.I. 263) does not contain a Delaware

 Deceptive Trade Practices claim based on the counterfeiting allegations. Instead, MOSO asserts

 that Plaintiffs consented to trial of this issue either by express or implied consent under Fed. R.

 Civ. P. Rule 15(b)(2). MOSO is wrong.

        Initially, MOSO points to nothing in the record to show “express” consent to try a DDTPA

 claim that included the “counterfeiting” claims. MOSO only points to a statement made by MOSO

 in MOSO’s section of the pretrial order that MOSO tied the DDTPA claim to the counterfeiting

 allegations. D.I. 395 at 6. This is not a statement of consent by Plaintiffs, and Plaintiffs were

 under no obligation to “object” to MOSO’s section (it is MOSO’s section after all). As a result,

 there is no “express consent” whatsoever.

        There is also no “implied consent” under controlling Third Circuit law. Plaintiff never

 stated that it understood the DDTPA claim included the counterfeiting allegations. Trial Tr. at 116.



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 Instead, Plaintiffs only acknowledged the relevance of the press release to the counterfeiting

 allegations (and it was relevant to that claim).

        The Third Circuit’s precedent is clear that an issue has not been tried by implied consent if

 evidence relevant to the new claim is also relevant to the claim originally pled, because the

 defendant does not have any notice that the implied claim was being tried. Douglas v. Owens, 50

 F.3d 1226, 1236 (3rd Cir. 1995). That is the case here.

        Plaintiffs did not have any notice that the DDTPA claim purportedly included the

 counterfeiting allegations. Plaintiffs did not object to introduction of the press release at trial

 because it was unquestionably relevant to the defamation claim. As a result, failure to object to

 the introduction of the press release into evidence cannot constitute implied consent under

 Douglas. Id.

        The lack of express or implied consent to the amendment is fatal to any attempt to amend

 the counterclaim now. As the Douglas Court noted, “[i]f the issue . . . has not been tried with the

 consent of the parties, then an amendment to conform to the pleadings will not be permitted no

 matter when made. Id. citing 6A Charles A. Wright et al., Federal Practice and Procedure § 1494,

 at 53 (1990) (emphasis added).

        Furthermore, any proposed amendment is highly prejudicial to Plaintiffs. MOSO’s pretrial

 section raised the spectre of seeking an injunction, treble damages and attorney’s fees under the

 DDTPA. D.I. 395 at pages 6 – 7. Although MOSO has missed the deadline for filing these

 motions, it may nevertheless attempt to file them late. See, e.g., Fed. R. Civ. P. Rule 54(d); Trial

 Tr. at 1163. Any opportunity for MOSO to do so based on a pleading amended post-trial is highly




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 prejudicial to Plaintiffs. Plaintiffs did not know the DDTPA claim included the defamation count,

 nor did Plaintiff consent to trial of that claim under the DDTPA.

        In light of the foregoing, Plaintiffs’ motion for JMOL on the DDTPA claim should be

 granted.

        III.    MOSO’S DEFAMATION CLAIM IS PREEMPTED

        MOSO acknowledges that its defamation claim is preempted if the statements at issue were

 referring to patent infringement. See, e.g., Dominant Semiconducts Sdn. Bhd. V. OSRAM GmbH,

 524 F.3d 1254, 1260 (Fed. Cir. 2008); Hunter—Douglas, Inc. v. Harmonic Design, Inc., 153 F.3d

 1318 (Fed. Cir. 1998); Zenith Electronics Corp. v. Exzec, Inc., 182 F.3d 1340 (Fed. Cir. 1999).

 That is exactly what the evidence showed. In fact, no reasonable jury could find that the statements

 at issue were not directed to patent infringement. As a result, JMOL must be granted.

        MOSO does not dispute that certain exhibits explicitly referenced this litigation and the

 patent infringement claim in connection with the assertion that the accused products were

 “unauthorized” counterfeits. See, e.g., PTX 280. Other statements that did not specifically

 mention the suit still characterized the accused products as “unauthorized” counterfeits. DTX 47;

 DTX 262. See 35 U.S.C. § 271(a)(“unauthorized” activities are infringing). No evidence

 characterized the products as “counterfeit” without further qualification. Given Mr. Chua’s

 testimony that Easoon was not implying that the product was anybody’s product other than

 MOSO’s product (Trial Tr. at 311) (which is the actual definition of a “counterfeit”), the jury’s

 finding cannot be sustained in light of the preemption precedent.

        IV.     MOSO HAS NOT PROVEN ANY DAMAGES ON ITS DEFAMATION
                CLAIM



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        MOSO has not proven any damages from the allegedly defamatory statements.                 In

 particular, MOSO has not proven any “loss of reputation.”

        Under Delaware law, a defamation plaintiff must prove either “special damages” (actual

 out of pocket losses) or “actual damages.” In the absence of proof of either type of loss, a

 defamation plaintiff may only be awarded nominal damages. See Preston Hollow Capital LLC v.

 Nuveen LLC, 2022 Del. Super. LEXIS 264 at * 9 (Del. Super. Ct. June 14, 2022).

        MOSO’s relies heavily on the Nuveen case in its opposition, but that reliance is particularly

 misplaced. The Nuveen court stated:

                in order for a plaintiff to proceed on defamation per se without proof of
        special damages, plaintiff still must provide evidence of diminution in reputation.
                The Court finds that defamation per se applies in this case. Plaintiff need
        not prove special damages. However, Plaintiff must prove injury to reputation in
        lieu of special damages. In the absence of proof of general damages, nominal
        damages may be awarded.
 Id. at *9 (emphasis supplied). MOSO has provided no proof of “diminution of reputation”

 whatsoever.

        Mr. Kelly’s oral testimony at Trial Tr. 681 and 683:12 – 684:7 is the only evidence MOSO

 proffered as to its damages on the defamation claim. Put differently, MOSO did not: (1) produce

 any survey evidence as to its reputation before and after the counterfeit statement; (2) provide

 testimony from any third party as to diminishment of its reputation; (3) produce any expert

 testimony as to diminishment of its reputation; and (4) produce any quantification of lost business

 caused by the allegedly defamatory statement.

        As discussed in Plaintiffs’ opening brief, multiple courts have held that corporate

 defendants may only prove “diminution of reputation” by proof of actual pecuniary loss. See, e.g.,



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 CMI, Inc. v. Intoximeters, Inc., 918 F. Supp. 1068, 1083 (W.D. Ky. 1995); Computer Aid, Inc. v.

 Hewlett-Packard Co., 56 F. Supp.2d 526, 539 (E.D. Pa. 1999). Even were the Court to hold that a

 corporate defamation defendant could prove loss of reputation by other means (survey evidence,

 third-party testimony, expert testimony), MOSO has not provided any such proof. Instead, MOSO

 proffered only the vague oral testimony of Mr. Kelly. A number of courts have held that the

 testimony of the defamed person (in this case, its CEO) is insufficient to establish loss of

 reputation. See, e.g., Ward v. Zelikovsky, 136 N.J. 516, 540, 643 A.2d 972 (1994); Rocci v.

 Macdonald-Cartier, 323 N.J. Super. 18 at *24 (N.J. Super. Ct. July 6, 1999)( “Awards based on a

 plaintiff's testimony alone or on "inferred" damages are unacceptable.”). That type of prohibited

 testimony was the entirety of “evidence” that MOSO provided on this issue here.

        Under MOSO’s rationale of the case, the jury could have awarded MOSO anything and

 MOSO would argue that jury award is sustainable in light of Trial Tr. 681 and 683:12 – 684:7.

 That is true even if the award exceeded the amount the jury awarded Plaintiffs! In light of this,

 Plaintiffs’ motion for JMOL should be granted.

        V.      PLAINTIFFS SHOULD BE GRANTED A NEW TRIAL OR REMITTITUR
                ON THE DEFAMATION CLAIM
        As set forth above, Plaintiffs contend that JMOL should be granted outright on the

 defamation claim including the damage award. In the event that the Court believes that the jury’s

 liability finding is sustainable (and it should not), the damages award is not sustainable in light of

 the lack of evidence provided as to diminished reputation. As a result, the Court should grant

 Plaintiffs’ motion for a remittitur and reduce the jury’s damage award to $1 of nominal damages.

        VI.     CONCLUSION




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         For the reasons set forth, Plaintiffs’ motion for judgment as a matter of law and a new trial

 or, in the alternative, for a remittitur should be granted.




                                                 Respectfully submitted,
  Dated: August 8, 2023                          O’KELLY & O’ROURKE, LLC

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